Case 1:23-md-03076-KMM Document 272 Entered on FLSD Docket 09/21/2023 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


    IN RE: FTX CRYPTOCURRENCY            No: 1:23-md-03076-KMM
    EXCHANGE COLLAPSE LITIGATION
                                         MDL No. 3076




    This Document Relates To:

    Garrison v. Bankman-Fried,
    No. 22-cv-23753-KMM

    Norris v. Brady,
    No. 23-cv-20439-KMM




       DEFENDANT THOMAS BRADY’S INDIVIDUAL MOTION TO DISMISS AND
                  INCORPORATED MEMORANDUM OF LAW
Case 1:23-md-03076-KMM Document 272 Entered on FLSD Docket 09/21/2023 Page 2 of 6




   I.        INTRODUCTION

             Defendant Thomas Brady moves to dismiss Plaintiffs’ Class Action Complaint (“CAC”),

   ECF No. 179, for the reasons set forth in the omnibus Motion to Dismiss (“MTD”), and files this

   short separate motion to address certain specific deficiencies with respect to Plaintiffs’ factual

   allegations regarding Mr. Brady.

   II.       PLAINTIFFS FAIL TO PLEAD FACTS DEMONSTRATING MR. BRADY SOLD
             OR SOLICITED THE SALE OF SECURITIES

             Plaintiffs’ complaint describes several advertisements and promotional appearances by Mr.

   Brady related to FTX. None of these alleged brand promotion efforts, however, involved the sale

   or solicitation of Plaintiffs’ alleged securities. See CAC ¶¶ 301-06, 308-09.

             According to Plaintiffs, Mr. Brady appeared in three video advertisements for FTX. Id.

   ¶¶ 301, 304-05. These advertisements focused on the FTX brand and platform, not any specific

   product. See id. Plaintiffs also point to Mr. Brady’s appearance alongside Sam Bankman-Fried at

   the Salt Crypto Bahamas Conference, id. ¶¶ 308-09, where Mr. Brady spoke on the topic of

   “Winning,” see id. ¶ 308. And they allege that FTX retweeted social media posts by Mr. Brady or

   his former team, the Tampa Bay Buccaneers, and promoted a social media sweepstakes with Mr.

   Brady and a company he co-founded. See id. ¶¶ 311, 319-20. None of these alleged promotions

   mention the allegedly unregistered securities. These general promotions of FTX are insufficient to

   establish that Mr. Brady sold or solicited the sale of YBAs or FTT, and Plaintiffs’ securities claims

   must be dismissed. See, e.g., AREI II Cases, 216 Cal. App. 4th 1004, 1015-19 (2013); In re CNL

   Hotels & Resorts, Inc., 2005 WL 2291729, at *4-5 (M.D. Fla. Sept. 20, 2005).1



   1
        In any event, Plaintiffs cannot (and have not) alleged that they purchased these products as a

   result of Mr. Brady’s ads, or even that they viewed them at all. See CAC ¶¶ 39-54. But even

                                                     1
Case 1:23-md-03076-KMM Document 272 Entered on FLSD Docket 09/21/2023 Page 3 of 6




   III.   PLAINTIFFS CANNOT SHOW MR. BRADY WAS AWARE OF OR INVOLVED
          IN FTX’S FRAUD

          Plaintiffs likewise allege no actual facts that remotely suggest Mr. Brady knew anything

   about FTX’s fraud or supported it in any way. Indeed, Plaintiffs’ assertion that Mr. Brady took a

   substantial “equity stake in FTX” as compensation under his advertising contract, CAC ¶ 295—

   far from supporting their claims—demonstrates that Mr. Brady believed FTX to be a genuine, non-

   fraudulent company and that FTX’s ultimate collapse harmed him too. See id. ¶¶ 326-27.

   Moreover, as with his then-advertising partner Ms. Bündchen, there was no deceit in Mr. Brady

   not disclosing his exact compensation; both he and Ms. Bündchen were publicly announced to

   have entered into agreements with FTX; both disclosed they took equity in FTX; and both engaged

   in routine advertisements—television commercials and print ads—where there was no expectation

   that their services were uncompensated. See id. ¶¶ 293-320. In context, no reasonable consumer

   would confuse these promotions for anything other than paid endorsements. See MTD at 27-28.

          Similarly, Plaintiffs wholly fail to allege any deceptive statements or conduct by Mr.

   Brady. Statements like: FTX is “the best way to get in the [crypto] game,” or “the safest and easiest

   way to buy and sell crypto,” CAC ¶ 304, and FTX is “better. And I like better,” id. ¶ 305, do not

   constitute deceptive practices under any state’s law. Rather, these allegations reflect at most classic

   “nonactionable puffery”—not a basis for claims of unfair competition or deceptive trade practices.

   See MTD at 24-25.

          These failures entirely defeat Plaintiffs’ consumer protection, aiding and abetting, and

   conspiracy claims. See, e.g., Silverboys, LLC v. Joelsson, 2020 WL 13401917, at *12 (S.D. Fla.



   assuming this deficiency could be corrected, the fundamental deficiency—that the ad does not

   solicit the sale of any security—would still require dismissal.

                                                     2
Case 1:23-md-03076-KMM Document 272 Entered on FLSD Docket 09/21/2023 Page 4 of 6




   Nov. 30, 2020) (Florida consumer protection claim); Taylor v. Costco Wholesale Corp., 2020 WL

   5982090, at *4 (E.D. Cal. Oct. 8, 2020) (California consumer protection claim); 15 O.S. § 753(2),

   (5) (Oklahoma consumer protection claim); Honig v. Kornfeld, 339 F. Supp. 3d 1323, 1343 (S.D.

   Fla. 2018) (Florida aiding and abetting claims); Almeida v. BOKF, NA, 471 F. Supp. 3d 1181, 1197

   (N.D. Okla. 2020) (Oklahoma aiding and abetting claims); Feng v. Walsh, 2021 WL 8055449, at

   *11 (S.D. Fla. Dec. 21, 2021), report and recommendation adopted, 2022 WL 669198 (S.D. Fla.

   Mar. 7, 2022) (civil conspiracy).

   IV.    CONCLUSION

          For these further reasons, the complaint against Mr. Brady should be dismissed with

   prejudice.



   Dated: September 21, 2023                       Respectfully submitted,

                                                   Colson, Hicks, Eidson, P.A.
                                                      255 Alhambra Circle, Penthouse
                                                      Coral Gables, Florida 33134
                                                      (305) 476-7400

                                                   By: /s/ Roberto Martinez
                                                      Roberto Martínez
                                                      Florida Bar No. 305596
                                                      bob@colson.com
                                                      Stephanie A. Casey
                                                      Florida Bar No. 97483
                                                      scasey@colson.com
                                                      Zachary Lipshultz
                                                      Florida Bar No. 123594
                                                      zach@colson.com




                                                  3
Case 1:23-md-03076-KMM Document 272 Entered on FLSD Docket 09/21/2023 Page 5 of 6



                                        LATHAM & WATKINS LLP
                                          Andrew B. Clubok (pro hac vice)
                                            andrew.clubok@lw.com
                                          Susan E. Engel (pro hac vice)
                                            susan.engel@lw.com
                                          Brittany M.J. Record (pro hac vice)
                                            brittany.record@lw.com
                                        555 Eleventh Street, N.W., Suite 1000
                                        Washington, D.C. 20004-1304
                                        Tel: +1.202.637.2200
                                        Fax: +1.202.637.2201
                                        LATHAM & WATKINS LLP
                                          Marvin S. Putnam (pro hac vice)
                                            marvin.putnam@lw.com
                                          Jessica Stebbins Bina (pro hac vice)
                                            jessica.stebbinsbina@lw.com
                                          Elizabeth A. Greenman (pro hac vice)
                                            elizabeth.greenman@lw.com
                                        10250 Constellation Blvd., Suite 1100
                                        Los Angeles, California 90067
                                        Tel: +1.424.653.5500
                                        Fax: +1.424.653.5501
                                        LATHAM & WATKINS LLP
                                          Michele D. Johnson (pro hac vice)
                                            michele.johnson@lw.com
                                        650 Town Center Drive, 20th Floor
                                        Costa Mesa, California 92626-1925
                                        Tel: +1.714.540.1235
                                        Fax: +1.714.755.8290

                                        Attorneys for Defendant Thomas Brady




                                        4
Case 1:23-md-03076-KMM Document 272 Entered on FLSD Docket 09/21/2023 Page 6 of 6




                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 21, 2023, a true and correct copy of the foregoing
   was filed electronically with the Clerk of the Court, by using the CM/ECF system, causing a true
   and correct copy to be served on all counsel of record.

                                               By: /s/ Roberto Martinez
                                                  Roberto Martínez




                                                  5
